
In re Davis, Billy; — Plaintiff(s); applying for supervisory and/or remedial writs; Parish of Orleans, Criminal District Court, Div. “F”, No. 264-708.
Granted in part; denied in part. This case is remanded to the district court for correction of relator’s sentence of 33 years at hard labor, the mandatory minimum penalty that any court could impose on a multiple offender convicted of armed robbery and sentenced under La.R.S. 15:529.1, to reflect that the sentence will run without benefit of parole. State v. Bruins, 407 So.2d 685 (La.1981). The requirement of law that relator serve his sentence without parole eligibility represents a “ ‘wholly logical, non-vindictive reason for correcting the sentence in this case. State v. Lucas, 598 So.2d 338 (La.1992) [quoting Texas v. McCullough, 475 U.S. 134, 140, 106 S.Ct. 976, 980, 89 L.Ed.2d 104 (1986)].” In all other respects the application is denied.
